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                         UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10                           WESTERN DIVISION

 11   Edwardo Munoz, individually and on
      behalf of all others similarly situated,
 12
                                Plaintiff,       Case No. 2:18-cv-03893-RGK-AGR
 13
            v.                                   (PROPOSED) ORDER
 14
      7-Eleven, Inc., a Texas corporation,       APPROVING PLAINTIFF’S
 15                                              PROPOSED PLAN FOR
 16                               Defendant.     DISSEMINATING THE CLASS
                                                 NOTICE
 17

 18                                               Complaint Filed: May 15, 2018

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  1         Pursuant to Plaintiff’s Motion for Approval of his Proposed Notice Plan, and
  2   good cause appearing, it is hereby Ordered:
  3                 1.       The Motion is granted.
  4                 2.       Notice shall be disseminated in accordance with the plan
  5                          submitted.
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  7   IT IS SO ORDERED.
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      Dated: ______________, 2019
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                                                          Hon. R. Gary Klausner
 11                                                       United States District Judge
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            [Proposed] Order Granting Joint Stipulation to Continue Hearing Re Motion for Class Certification
 28                                                       -2-
